                    Case 14-40558                      Doc 1
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                               United States Bankruptcy Court
                                                                                                                                                                        Voluntary Petition
                          Northern District of Illinois Eastern Division
 Name of Debtor (if individual, enter Last, First, Middle):                                              Name of Joint Debtor (Spouse) (Last, First, Middle)

                                 Ortiz, Angel Manuel                                                                                 Ortiz, Maribel Carmen
 All Other Names used by the Debtor in the last 8 years (include married, maiden                            All Other Names used by the Joint Debtor in the last 8 years (include married,
 and trade names):                                                                                          maiden and trade names):




Last four digits of Soc. Sec. or Individual- Taxpayer I.D. (ITIN) No./Complete EIN                       Last four digits of Soc. Sec. or Individual- Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all) *                                                                          (if more than one, state all) *
                                      ***-**-5955                                                                                                      ***-**-9824
 Street Address of Debtor (No. & Street, City, and State):                                                Street Address of Joint Debtor (No. & Street, City, and State):

 1837 N. Harding Ave # #2                                                                                   1837 N. Harding Ave # #2
 Chicago, IL                                                                                                Chicago, IL
                                                                                  60647                                                                                                         60647
 County of Residence or of the Principal Place of Business:                                               County of Residence or of the Principal Place of Business:

                                                   COOK                                                                                                 COOK
 Mailing Address of Debtor (if different from street address)                                             Mailing Address of Joint Debtor (if different from street address):


    ,                                                                                                         ,

 Location of Principal Assets of Business Debtor (if different from street address above ):

                     Type of Debtor (Form of Organization)                                  Nature of Business                                       Chapter of Bankruptcy Code Under
                                  (Check one box)                                              (Check one box.)                                    Which the Petition is Filed (Check one box)
                                                                                   Heath Care Business                                     Chapter 7
            Individual (includes Joint Debtors)                                                                                                                      Chapter 15 Petition for Recognition
                                                                                   Single Asset Real Estate as
            See Exhibit D on page 2 of this form                                                                                           Chapter 9
                                                                                   defined in 11 U.S.C §101 (51B)                                                    of a Foreign Main Proceeding
            Corporation (includes LLC & LLP)                                       Railroad                                                Chapter 11
                                                                                                                                           Chapter 12                Chapter 15 Petition for Recognition
                                                                                   Stockbroker
            Partnership                                                                                                                    Chapter 13                of a Foreign Nonmain Proceeding
                                                                                   Commodity Broker
            Other (If debtor is not one of the above entities,
                                                                                   Clearing Bank
            check this box and state type of entity below.)
                                                                                   Other
                                Chapter 15 Debtors                                           Tax-Exempt Entity                                            Nature of Debts (Check one Box)
                                                                                           (Check box, if applicable.)
Country of debtor's center of main interests: _____________                                                                              Debts are primarily consumer                          Debts are
___________________________________________________                                Debtor is a tax-exempt                                debts, defined in 11 U.S.C.                           primarily
Each country in which a foreign proceeding by, regarding, or                       organization under Title 26 of the                    § 101(8) as "incurred by an                           business debts.
against debtor is pending: _____________________________                           United States Code (the Internal                      individual primarily for a personal,
                                                                                   Revenue Code).                                        family, or household purpose."
                                                                                                                                             Chapter 11 Debtors
                                        Filing Fee (Check one box)
                                                                                                         Check one box
     Filing Fee attached                                                                                      Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D)
                                                                                                              Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D)
     Filing Fee to be paid in installments (applicable in individuals only). Must attach                 Check if:
     signed application for the court's consideration certifying that the debtor is                           Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
     unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                            insiders or affliates) are less than $2,343,300. ( amount subject to adjustment
                                                                                                              on 4/01/13 and ever theree years thereafter).

     Filing Fee wavier requested (applicable to chapter 7 individuals only). Must                           Check all applicable boxes:
     attach signed application for the court's consideration. See Official Form 3B.                             A plan is being filed with this petition .
                                                                                                                  Acceptances of the plan were solicited prepetition from one of more classes
                                                                                                                  of creditors, in acccordance with 11 U.S.C. § 1126(b).

 Statistical/Administrative Information                                                                                                                                    This space is for court use only27.00
    Debtor estimates that funds will be available for distribution to unsecured credtiors.
        Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no
        funds available for distribution to unsecured creditors.
 Estimated Number of Creditors


       1-                 50-           100-          200-           1,000-        5,001-          10,001            25,001            50,001           Over
       49                 99            199           999            5,000         10,000          25,000            50,000            100,000          100,000
 Estimated Assets

          $0 to          $50,001to     $100,001 to    $500,001       $1,000,001    $10,000,001     $50,000,001       $100,000,001      $500,000,001     More than
          $50,000        $100,000      $500,000       to $1          to $10        to $50          to $100           to $500           to $1billion     $1 billion
                                                      million        million       million         million           million
 Estimated Liabilities

          $0 to          $50,001 to    $100,001 to    $500,001       $1,000,001    $10,000,001     $50,000,001       $100,000,001      $500,000,001     More than
          $50,000        $100,000      $500,000       to $1          to $10        to $50          to $100           to $500           to $1billion     $1 billion
                                                      million        million       million         million           million

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                                           Voluntary Petition                                            Name of Debtor(s)
                      This page must be completed and filed in every case)                                                                Angel Manuel Ortiz
                                                                                                                                         Maribel Carmen Ortiz
                                                     All Prior Bankruptcy Case Filed Within Last 8 Years (if more than two, attach additional sheet)
Location Where Filed:                                                                                    Case Number:                                         Date Filed:
None

 None


                                       Pending Bankruptcy Case Filed by any Spouse, Partner, or Affilate of this Debtor (if more than one, attach additional sheet)
Name of Debtor:                                                                                          Case Number:                                         Date Filed:



District:                                                                                                Relationship:                                        Judge:




                                               Exhibit A                                                                                              Exhibit B
                                                                                                                    (To be completed if debtor is an individual whose debts are primarily consumer debts.)
    (To be completed if debtor is required to file periodic reports (e.g.,
                                                                                                         I, the attorney for the petitioner named in the foregoing petition, declare that I
    forms 10K and 10Q) with the Securities and Exchange Commission
                                                                                                         have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12
    pursuant to Section 13 or 15 (d) of the Securities Exchange Act of                                   or 13 of title 11, United States Code, and have explained the relief available under
    1934 and is requesting relief under chapter 11.)                                                     each such chapter. I further certify that I have delivered to the debtor the notice
                                                                                                         required by 11 USC § 342(b).


            Exhibit A is attached and made a part of this petition .                                                     /s/ Christopher John Hoffman
                                                                                                           Christopher John Hoffman                                                      Dated: 11/07/2014


                                                                                                  Exhibit C
                  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

            Yes, and Exhibit C is attached and made a part of this petition.

            No.

                                                                                                  Exhibit D
                                  (To be completed by every individual debtor . If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

            Exhibit D completed and signed by the debtor is attached and made a part of this petition.
            If this is a joint petition:
            Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.


                                                                       Information Regarding the Debtor - Venue
                                                                                        (Check the Applicable Box.)
                           Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days
                           immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.

                            There is a bankruptcy case concerning debtor' s affiliate, general partner, or partnership pending in this District.

                            Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United
                            States in this District, or has no principal place of business or assets in the United States but is a defendant in an action
                            or proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the
                            relief sought in this District.

                                               Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                     (Check all applicable boxes.)
                            Landlord has a judgment aga inst the debtor for possession of debtor's residence. (If box checked, complete the
                            following.)
                                                             (Name of landlord that obtained judgment)


                                                             (Address of Landlord)

                           Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be
                           permitted to cure the entire monetary default that gave rise to the judgment for possession, after the judgment for
                           possession was entered, and
                           Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day
                           period after the filing of the petition.
                            Debtor certifies that he/she has served the Landlord with this certification. ( 11 U.S.C. § 362(1))


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                                     Voluntary Petition                                               Name of Joint Debtor(s)
                     This page must be completed and filed in every case )                                                          Angel Manuel Ortiz
                                                                                                                                   Maribel Carmen Ortiz

                                                                                                 Signatures

              Signature(s) of Debtor(s) (Individual/Joint)                                                              Signature of a Foreign Representative
  I declare under penalty of perjury that the information provided in                                    I declare under penalty of perjury that the information provided in this
                                                                                                         petition is true and correct, that I am the foreign representative of a debtor
  this petition is true and correct.
                                                                                                         in a foreign proceeding, and that I am authorized to file this petition
  [If petitioner is an individual whose debts are primarily consumer                                     (Check only one box.)
  debts and has chosen to file under chapter 7] I am aware that I                                        I request relief in accordance with chapter 15 of title 11, United States
  may proceed under chapter 7,11, 12 or 13 of title 11, United States                                    Code. Certified copies of the documents required by 11 U.S.C. § 1515 are
  Code, understand the relief available under each such chapter,                                         attached.
  and choose to proceed under chapter 7.                                                                 Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the chapter
  [If no attorney represents me and no bankruptcy petition preparer                                      of title 11 specified in this petition. A certified copy of the order granting
  signs the petition] I have obtained and read the notice required by                                    recognition of the foreign main proceeding is attached.

  11 U.S.C. § 342(b).

  I request relief in accordance with the chapter of title 11, United
                                                                                                         (Signature of Foreign Representative)
  States Code, specified in this petition.
                                                                                                         (Printed Name of Foreign Representative)
/s/ Angel Manuel Ortiz
                                Angel Manuel Ortiz
                                                                            Dated: 10/30/2014


/s/ Maribel Carmen Ortiz
                              Maribel Carmen Ortiz
                                                                            Dated: 10/30/2014

                                 Signature of Attorney                                                                 Signature of Non-Attorney Bankruptcy Petition Preparer
                                                                                                         I declare under penalty of perjury that: (1) I am a bankruptcy petition
               /s/ Christopher John Hoffman                                                              preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                                         compensation and have provided the debtor with a copy of this document
   Signature of Attorney for Debtor(s)
                                                                                                         and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
                   Christopher John Hoffman                                                              and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to
                                                                                                         11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
   Printed Name of Attorney for Debtor(s)                                                                bankruptcy petition preparers, I have given the debtor notice of the
   GERACI LAW L.L.C.                                                                                     maximum amount before preparing any document for fi ling for a debtor or
                                                                                                         accepting any fee from the debtor, as required in that section.
   55 E. Monroe St., #3400                                                                               Official Form 19B is attached.
   Chicago, IL 60603
   Phone: 312-332-1800                                                                                   Printed Name and title, if any, of Bankruptcy Petition Preparer

                             Date: 11/07/2014                                                            Social Security number (If the bankrutpcy petition preparer is not an
                                                                                                         individual, state the Social Security number of the officer , principal,
  * In a case in which § 707(b)(4)(D) applies, this signature also constitutes a certification           responsible person or partner of the bankruptcy petition preparer.)
  that the attorney has no knowledge after an inquiry that the information in the schedules is           (Required by 11 U.S.C. § 110.)
  incorrect.
                                                                                                         Address

           Signature of Debtor (Corporation/Partnerhsip)                                                 Date
  I declare under penalty of perjury that the information provided in                                    Signature of Bankruptcy Petition Preparer or officer , principal, responsible
  this petition is true and correct, and that I have been authorized to                                  person,or partner whose social security number is provided above.
  file this petition on behalf of the debtor.
  The debtor requests relief in accordance with the chapter of title 11 ,                                Names and Social Security numbers of all other individuals who
                                                                                                         prepared or assisted in preparing this document unless the bankruptcy
  United States Code, specified in this petition.
                                                                                                         petition preparer is not an individual:
  Signature of Authorized Individual
                                                                                                         If more than one person prepared this document, attach additional sheets
  Printed Name of Authorized Individual
                                                                                                         conforming to the appropriate official form for each person .

  Title of Authorized Individual                                                                         A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                                         title 11 and the Federal Rules of Bankruptcy Procedure may result in fines
  Date                                                                                                   or imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.




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                                          UNITED STATES BANKRUPTCY COURT
In re
                                    NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION
 Angel Manuel Ortiz and Maribel Carmen Ortiz / Debtors                                                                          Bankruptcy Docket #:
                                                                                                                                 Judge:


                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT
        Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
 cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you
 will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is
 dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
 extra steps to stop creditors' collection activities.

     Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D. check
one of the five statements below and attach any documents as directed.

                1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
         the United States trustee or bankruptcy administrator that outlined the opportunties for available credit counseling and assisted me in
         performing a related budget analysis, and I have a certificate from the agency describing the services provided to me. Attach a copy of
         the certificate and a copy of any debt repayment plan developed through the agency.

                  2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
          the United States trustee or bankruptcy administrator that outlined the opportunties for available credit counseling and assisted me in
          performing a related budget analysis, but I do not have a certificate from the agency describing the services provided to me. You must
          file a copy of a certificate from the agency describing the services provided to you and a copy of any debt repayment plan developed
          through the agency no later than 14 days after your bankruptcy case is filed.


                3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during the
         seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit counseling
         requirement so I can file my bankruptcy case now. [Must be accompanied by a motion for determination by the court.] [Summarize exigent
         circumstances here.]
         ______________________________________________________________________________________________________________
         ______________________________________________________________________________________________________________

                If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after you file
          your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy of any debt
          management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any extension
          of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may also be dismissed if the
          court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit counseling briefing.

               4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement.] [Must be accompanied
         by a motion for determination by the court.]

                       Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to be incapable
          of realizing and making rational decisions with respect to financial responsibilities.);

                       Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable effort, to
          participate in a credit counseling briefing in person, by telephone, or through the Internet.);

                      Active military duty in a military combat zone.


               5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of 11 U.S.C. § 109(h)
         does not apply in this district.



 I certify under penalty of perjury that the information provided above is true and correct.


Dated: 10/30/2014                                  /s/ Angel Manuel Ortiz
                                                                          Angel Manuel Ortiz



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                                          UNITED STATES BANKRUPTCY COURT
In re
                                    NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION
 Angel Manuel Ortiz and Maribel Carmen Ortiz / Debtors                                                                          Bankruptcy Docket #:
                                                                                                                                 Judge:


                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT
        Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
 cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you
 will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is
 dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
 extra steps to stop creditors' collection activities.

     Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D. check
one of the five statements below and attach any documents as directed.

                1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
         the United States trustee or bankruptcy administrator that outlined the opportunties for available credit counseling and assisted me in
         performing a related budget analysis, and I have a certificate from the agency describing the services provided to me. Attach a copy of
         the certificate and a copy of any debt repayment plan developed through the agency.

                  2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
          the United States trustee or bankruptcy administrator that outlined the opportunties for available credit counseling and assisted me in
          performing a related budget analysis, but I do not have a certificate from the agency describing the services provided to me. You must
          file a copy of a certificate from the agency describing the services provided to you and a copy of any debt repayment plan developed
          through the agency no later than 14 days after your bankruptcy case is filed.


                3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during the
         seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit counseling
         requirement so I can file my bankruptcy case now. [Must be accompanied by a motion for determination by the court.] [Summarize exigent
         circumstances here.]
         ______________________________________________________________________________________________________________
         ______________________________________________________________________________________________________________

                If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after you file
          your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy of any debt
          management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any extension
          of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may also be dismissed if the
          court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit counseling briefing.

               4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement.] [Must be accompanied
         by a motion for determination by the court.]

                       Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to be incapable
          of realizing and making rational decisions with respect to financial responsibilities.);

                       Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable effort, to
          participate in a credit counseling briefing in person, by telephone, or through the Internet.);

                      Active military duty in a military combat zone.


               5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of 11 U.S.C. § 109(h)
         does not apply in this district.



 I certify under penalty of perjury that the information provided above is true and correct.


Dated: 10/30/2014                                       /s/ Maribel Carmen Ortiz                                                                  X Date & Sign
                                                                      Maribel Carmen Ortiz



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                                    UNITED STATES BANKRUPTCY COURT
In re
                              NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION
 Angel Manuel Ortiz and Maribel Carmen Ortiz / Debtors                                                  Bankruptcy Docket #:
                                                                                                         Judge:


                                                    SUMMARY OF SCHEDULES

 Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, C,
 D, E, F, I and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor 's assets. Add the
 amounts from Schedules D, E, and F to determine the total amount of the debtor 's liabilities. Individual debtors also must complete the "Statistical
 Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.



                                                                                                         AMOUNTS SCHEDULED
                                                              Attached
                    Name of Schedule                          YES | NO       Pages             Assets                   Liabilities           Other


SCHEDULE A - Real Property                                       Yes           1                 $0                        $0                   $0

SCHEDULE B - Personal Property                                   Yes           3             $26,186                       $0                   $0

SCHEDULE C - Property Claimed as Exempt                          Yes          1+                 $0                        $0                   $0

SCHEDULE D - Creditors Holding Secured                           Yes          1+                 $0                     $23,751                 $0
Claims
SCHEDULE E - Creditors Holding Unsecured                         Yes           2                 $0                        $0                   $0
Priority Claims
SCHEDULE F - Creditors Holding Unsecured                         Yes          1+                 $0                     $79,036                 $0
Nonpriority Claims
SCHEDULE G - Executory Contracts and                             Yes           1                 $0                        $0                   $0
Unexpired Leases
SCHEDULE H - CoDebtors                                           Yes           1                 $0                        $0                   $0

SCHEDULE I - Current Income of Individual                        Yes           1                 $0                        $0                $4,996
Debtor(s)
SCHEDULE J - Current Expenditures of                             Yes           1                 $0                        $0                $4,133
Individual Debtor(s)


                                     TOTALS                                                  $26,186                   $102,787
                                                                                            TOTAL ASSETS             TOTAL LIABILITIES




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                                   UNITED STATES BANKRUPTCY COURT
In re
                             NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION
 Angel Manuel Ortiz and Maribel Carmen Ortiz / Debtors                                           Bankruptcy Docket #:
                                                                                                  Judge:


                      STATISTICAL SUMMARY OF CERTAIN LIABILITIES - 28 U.S.C. § 159
    If you are an individual debtor whose debts are primarily consumer debts as defined in 101(8) of the Bankruptcy Code
(11 U.S.C. 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below
        Check this box if you are an individual debtor whose debts are NOT primarily consumer debts and , therefore, are
        not required to report any information here.
This information is for statistical purposes only under 28 U.S.C § 159
Summarize the following types of liabilities, as reported in the Schedules, and total them

                         Type of Liability                                                 Amount
   Domestic Support Obligations (From Schedule E)                                                 $0.00

   Taxes and Certain Other Debts Owed to governmental                                             $0.00
   Units (From Schedule E)

   Claims for Death or Personal Injury While Debtor was Intoxicated
                                                                                                  $0.00
   (From Schedule E) whether disputed or undisputed)

   Student Loan Obligations (From Schedule F)                                               $67,560.00

   Domestic Support Separation Agreement and Divorce Decree
                                                                                                  $0.00
   Obligations Not Reported on (Schedule E).

   Obligations to Pension or Profit Sharing and Other
                                                                                                  $0.00
   Similar Obligations (From Schedule F)

                                                                      TOTAL                 $67,560.00

  State the following:

 Average Income (from Schedule I, Line 16)                                                   $4,996.11

 Average Expenses (from Schedule J, Line 18)                                                 $4,133.00
 Current Monthly Income (from Form 22A Line 12; or,
                                                                                             $6,470.16
 Form 22B Line 11; or, Form 22C Line 20)
 State the following:
  1. Total from Schedule D, "UNSECURED PORTION, IF
                                                                                                            $23,751.00
  ANY" column

 2. Total from Schedule E, "AMOUNT ENTITLED TO
                                                                                 $0.00
 PRIORITY" column

 3. Total from Schedule E, "AMOUNT NOT ENTITLED
                                                                                                                  $0.00
 TO PRIORITY, IF ANY" Column

 4. Total from Schedule F                                                                                   $79,036.00

  5. Total of non-priority unsecured debt
                                                                                                           $102,787.00
  (sum of 1,3 and 4)




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                                          UNITED STATES BANKRUPTCY COURT
In re
                                    NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION
 Angel Manuel Ortiz and Maribel Carmen Ortiz / Debtors                                                                   Bankruptcy Docket #:
                                                                                                                         Judge:



                                                        SCHEDULE A - REAL PROPERTY
Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property                    owned as a
co-tenant, community property, or in which the debtor has a life estate.       Include any property in which the debtor holds rights                         and powers
exercisable for the debtor's own benefit. If the debtor is married, state whether husband, wife, or both own the property by placing                         an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community."       If the debtor holds no interest in real property, write                       "None" under
"Description and Location of Property."

Do      not   include   interests   in   executory   contracts   and   unexpired   leases    on   this    schedule.      List   them   in   Schedule   G    -     Executory
Contracts and Unexpired Leases.


If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim.                  See Schedule D.          If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim."

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the amount of any exemption claimed in the
property only in Schedule C - Property Claimed as Exempt.

                                                                                                    Husband           Current Value of Debtors
                                                                            Nature of                    Wife           Interest in Property
                                                                                                         Joint         Without Deducting and            Amount of
              Description and Location of Property                       Debtor's Interest
                                                                                                         Or              Secured Claim or              Secured Claim
                                                                           in Property
                                                                                                   Community                 Exemption


     [X] None




                                                       Total Market Value of Real Property                                      $0.00
                                                                  (Report also on Summary of Schedules)




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                                         UNITED STATES BANKRUPTCY COURT
In re
                                   NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION
  Angel Manuel Ortiz and Maribel Carmen Ortiz / Debtors                                                                  Bankruptcy Docket #:
                                                                                                                           Judge:


                                                  SCHEDULE B - PERSONAL PROPERTY
Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories ,
place an "x" in the appropriate position in the column labled "None." If additional space is needed in any category, attach a separate sheet properly
identified with the case name, case number, and the number of the category.        If the debtor is married, state whether husband, wife, or both own
the property by placing an "H," "W," "J," or "C" in the column labeled "HWJC." If the debtor is an individual or a joint petition is filed, state the amount
of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

        Do not list interest in executory and unexpired leases on this schedule. List them in Schedule G.
If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property .”
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                                                          Current Value of
                                                       N                                                                                        H
                                                                                                                                                          Debtor's Interest
                                                       O                                                                                        W
                                                                                                                                                            in Property,
                Type of Property                       N                   Description and Location of Property                                 J        Without Deducting
                                                       E                                                                                        C           Any Secured

01. Cash on Hand
                                                       X
02. Checking, savings or other financial
accounts, certificates of deposit or shares
in banks, savings and loan, thrift, building
and loan, and homestead associations or
credit unions, brokerage houses, or
cooperatives.
                                                            checking account with - Bank of America                                                                     $1


                                                            Checking account with Chase                                                                                $60


                                                            Checking account with Chase                                                                              $200


                                                            checking account with - First Midwest Bank. Joint                                                        $400
                                                            with mother. Only deposits are mother's social
                                                            security.
03. Security Deposits with public utilities,
telephone companies, landlords and others.
                                                       X
04. Household goods and furnishings,
including audio, video, and computer
equipment.
                                                            Household Goods; tv, dvd player, couch,                                                                $1,000
                                                            stereo/radio, utensils, pots and pans, vacuum, table,
                                                            chairs, lamps, entertainment center, bedroom set,
                                                            cellphone, rugs.
05. Books, pictures and other art objects,
antiques, stamp, coin, record, tape, compact
disc, and other collections or collectibles.
                                                            Books, CD's, DVD's, Tapes/Records, Family Pictures                                                       $100


06. Wearing Apparel


                                                            Necessary wearing apparel.                                                                               $200


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                                                   SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                  Current Value of
                                                      N                                                                   H
                                                                                                                                  Debtor's Interest
                                                      O                                                                   W
                                                                                                                                    in Property,
                Type of Property                      N              Description and Location of Property                 J      Without Deducting
                                                      E                                                                   C         Any Secured

07. Furs and jewelry.


                                                          Earrings, watch, costume jewelry                                                   $500


08. Firearms and sports, photographic, and
other hobby equipment.
                                                      X
09. Interests in insurance policies. Name
insurance company of each policy and
itemize surrender or refund value of each.
                                                          Term Life Insurance - No Cash Surrender Value.                                        $0


10. Annuities. Itemize and name each issuer.
                                                      X
11. Interests in an educational IRA as defined
in 26 U.S.C 530(b)(1) or under a qualified
                                                      X
State tuition plan as defined in 26 U.S.C.
529(B)(1). Give particulars. (File separately
the records(s) of any such interest(s). 11
U.S.C. 521(c); Rule 1007(b)).
12. Interest in IRA,ERISA, Keogh, or other
pension or profit sharing plans. Give
particulars
                                                          Pension w/ Employer/Former Employer - 100%                                    Unknown
                                                          Exempt.
13. Stocks and interests in incorporated and
unincorporated businesses.
                                                      X
14. Interest in partnerships or joint ventures.
Itemize. Itemize.
                                                      X
15. Government and corporate bonds and
other negotiable and non-negotiable
                                                      X
instruments.
16. Accounts receivable
                                                      X
17. Alimony, maintenance, support and
property settlements to which the debtor is
                                                      X
or may be entitled
18. Other liquidated debts owing debtor
including tax refunds. Give particulars.
                                                      X
19. Equitable and future interests, life
estates, and rights of power exercisable for
                                                      X
the benefit of the debtor other than those
listed in Schedule A - Real Property.
20. Contingent and Non-contingent interests
in estate of a decedent, death benefit plan,
                                                      X
life insurance policy, or trust.
21. Other contingent and unliquidated claims
of every nature, including tax refunds,
                                                      X
counter claims of the debtor, and rights to
setoff claims. Give estimated value of each.
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 Angel Manuel Ortiz and Maribel Carmen Ortiz / Debtors                                                 Bankruptcy Docket #:
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                                                  SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                    Current Value of
                                                     N                                                                      H
                                                                                                                                    Debtor's Interest
                                                     O                                                                      W
                                                                                                                                      in Property,
               Type of Property                      N              Description and Location of Property                    J      Without Deducting
                                                     E                                                                      C         Any Secured

22. Patents, copyrights and other intellectual
property. Give particulars.
                                                     X
23. Licenses, franchises and other general
intangibles..
                                                     X
24. Customer list or other compilations
containing personally identifiable information
                                                     X
(as defined in 11 USC 101 41A provided to
the debtor by individuals in connection with
obtaining a product or service from the
debtor primarily for personal, family, or
household purposes
25. Autos, Truck, Trailers and other vehicles
and accessories.
                                                         2006 Nissan Maxima with 75,000 miles                                               $10,250


                                                         2012 Chrysler 200 with 50,000 miles                                                $13,475


26. Boats, motors and accessories.
                                                     X
27. Aircraft and accessories.
                                                     X
28. Office equipment, furnishings, and
supplies.
                                                     X
29. Machinery, fixtures, equipment, and
supplie used in business.
                                                     X
30. Inventory
                                                     X
31. Animals
                                                     X
32. Crops-Growing or Harvested. Give
particulars.
                                                     X
33. Farming equipment and implements.
                                                     X
34. Farm supplies, chemicals, and feed.
                                                     X
35. Other personal property of any kind not
already listed. Itemize.
                                                     X

                                                                                                                        Total        $26,186.00
                                                                                        (Report also on Summary of Schedules)




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 Angel Manuel Ortiz and Maribel Carmen Ortiz / Debtors                                                            Bankruptcy Docket #:
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                                        SCHEDULE C - PROPERTY CLAIMED EXEMPT
Debtor claims the exemptions to which debtor is entitled under:                                    Check if debtor claims a homestead exemption
(Check one box)                                                                                    that exceeds $146,450.*
        11 U.S.C. § 522(b)(2)
                                                                                * Amount subject to adjustment on 4/1/16, and every three years thereafter
        11 U.S.C. § 522(b)(3)                                                   with respect to cases commenced on or after the date of adjustment.


                                                                                                                                                 Current Value of
                                                                                                                              Value of
                                                                                    Specify Law Providing Each                                   Property without
                           Description of Property                                                                            Claimed               Deducting
                                                                                             Exemption
                                                                                                                             Exemption              Exemption

02. Checking, savings or other

checking account with - Bank of America                                             735 ILCS 5/12-1001(b)                  $5                                       $1

Checking account with Chase                                                         735 ILCS 5/12-1001(b)                  $ 75                                   $60

Checking account with Chase                                                         735 ILCS 5/12-1001(b)                  $ 250                                 $200

checking account with - First Midwest Bank. Joint with                              42 U.S.C. 407(a)                   In Full                                   $400
mother. Only deposits are mother's social security.
04. Household goods RENTERS

Household Goods; tv, dvd player, couch, stereo/radio,                               735 ILCS 5/12-1001(b)                  $ 1,000                             $1,000
utensils, pots and pans, vacuum, table, chairs, lamps,
entertainment center, bedroom set, cellphone, rugs.
05. Books, pictures and other

Books, CD's, DVD's, Tapes/Records, Family Pictures                                  735 ILCS 5/12-1001(a)                  $ 100                                 $100

06. Wearing Apparel

Necessary wearing apparel.                                                          735 ILCS 5/12-1001(a),(e)               $ 200                                $200

07. Furs and jewelry.

Earrings, watch, costume jewelry                                                    735 ILCS 5/12-1001(b)                  $ 500                                 $500

12. Interest in IRA,ERISA, Keo

Pension w/ Employer/Former Employer - 100% Exempt.                                  11 U.S.C. 522(b)(3)(C)                In Full                        Unknown

25. Autos, Truck, Trailers and

2006 Nissan Maxima with 75,000 miles                                                735 ILCS 5/12-1001(c)                  $ 2,400                           $10,250

2012 Chrysler 200 with 50,000 miles                                                 735 ILCS 5/12-1001(c)                  $0                                $13,475

* Amount subject to adjustment on 4/1/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.




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 Angel Manuel Ortiz and Maribel Carmen Ortiz / Debtors                                                                        Bankruptcy Docket #:
                                                                                                                              Judge:



                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
      State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of
the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee
and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens ,
garnishments, statutory liens, mortgages, deeds of trust, and other security interests.

     List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor ,” include the entity on
the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the
marital community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
      If the claim is contingent, place an “X” in the column labeled “Contingent .” If the claim is unliquidated, place an “X” in the column labeled
“Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed .” (You may need to place an “X” in more than one of these three
columns.)
     Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s) on
the last sheet of the completed schedule. Report the total from the column labeled "Amount of Claim Without Deducting Value of Collateral" also on the
Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from the column labeled "Unsecured Portion, if
Any" on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured claims to report on this Schedule D.

                                                                                   * Date Claim was Incured                                                                Amount of




                                                                                                                                               Unliquidated
                                                                     H




                                                                                                                                 Contingent
                                                          Codebtor




                                                                                                                                                              Disputed
                                                                                                                                                                         Claim Without
        Creditor's Name and Mailing Address                          W                  * Nature of Lien                                                                                   Unsecured
                                                                                                                                                                           Deducting
         Including Zip and Account Number                            J         *Value of Property Subject to Lien                                                           Value of
                                                                                                                                                                                            Portion, If
                                                                                    *Description of Property                                                               Collateral          Any
                  (See Instructions Above)                           C

                                                                                 Dates: 2012
1       Future Finance                                                                                                                                                         $8,500            $8,500
                                                                         Nature of Lien: Lien on Vehicle
        Bankruptcy Department
                                                                         Market Value : $10,250.00
        5251 W. 95th St.
                                                                              Intention: Reaffirm 524 (c)
        Oak Lawn IL 60453-2459
                                                                          *Description: Future Finance - 2006 Nissan
        Acct #:                                                                            Maxima


                                                                                 Dates: 2012-03-02
2       Santander Consumer USA                                                                                                                                               $15,251                   $0
                                                                         Nature of Lien: Lien on Vehicle - PMSI
        Attn: Bankruptcy Dept.
                                                                         Market Value : $13,475.00
        Po Box 961245
                                                                              Intention:
        Ft Worth TX 76161
                                                                          *Description: Santander - 2012 Chrysler 200
        Acct #: 30000107995561000


                                                                                                                                              Total                         $23,751            $8,500
                                                                                                    (Report also on Summary of Schedules)




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  Angel Manuel Ortiz and Maribel Carmen Ortiz / Debtors                                                                    Bankruptcy Docket #:
                                                                                                                           Judge:


                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
      A complete list of claims entitled to priority , listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

      The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity
on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of
them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or
Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
"Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." ( You may need to place an "X" in more than one of these three
columns.)

      Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E
in the box labeled “Total” on the last sheet of the completed schedule . Report this total also on the Summary of Schedules.

       Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule . Individual debtors with primarily
consumer debts who file a case under chapter 7 or 13 report this total also on the Statistical Summary of Certain Liabilities and Related Data.

      Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule . Individual debtors
with primarily consumer debts who file a case under chapter 7 report this total also on the Statistical Summary of Certain Liabilities and Related Data.

        Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
        Domestic Support Obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
        or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
        provided in 11 U.S.C. § 507(a)(1).
        Extensions of Credit in an involuntary case
        Claims arising in the ordinary course of the debtor' s business or financial affairs after the commencement of the case but bfore the earlier
        of the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).
        Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
        qualifying independent sales representatives up to $ 11,725* per person earned within 180 days immediately preceding the filing of the
        original petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
        Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
        cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
        Certain farmers and fishermen
        Claims of certain farmers and fishermen, up to $5,775 * per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).
        Deposits by individuals
        Claims of individuals up to $2,600 * for deposits for the purchase, lease, or rental of property or services for personal, family, or household
        use, that were not delivered or provided. 11 U.S.C. § 507(a)(7).
        Taxes and certain other Debts Owed to Governmental Units
        Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).
        Commitments to maintain the capital of insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
        Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11
        U.S.C. § 507 (a)(9).
        Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
        alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).
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* Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.




                                                                                                                                                      Unliquidated
                                                                             H




                                                                                                                                         Contingent
                                                                                        Date Claim Was Incured and                                                                           Amount




                                                                  Codebtor




                                                                                                                                                                     Disputed
        Creditor's Name, Mailing Address                                     W                                                                                                   Amount
                                                                                         Consideration For Claim                                                                             Entitled
     Including Zip Code and Account Number                                   J                                                                                                   of Claim
                   (See Instructions Above)
                                                                                                                                                                                                to
                                                                             C                                                                                                               Priority


    [X] None




                                                                                 Total Amount of Unsecured Priority Claims                                                                  $0
                                                                                                       (Report also on Summary of Schedules)




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 Angel Manuel Ortiz and Maribel Carmen Ortiz / Debtors                                                             Bankruptcy Docket #:
                                                                                                                    Judge:


               SCHEDULE F - CREDITORS HOLDING UNSECURED NON-PRIORITY CLAIMS
     State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding
unsecured claims without priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete
account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or
guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed.
R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the
continuation sheet provided.

     If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,”
include the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state
whether the husband, wife, both of them, or the marital community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in
the column labeled “Husband, Wife, Joint, or Community.”

      If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the
column labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an
“X” in more than one of these three columns.)

    Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule.
Report this total also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts filing a case
under chapter 7, report this total also on the Statistical Summary of Certain Liabilities and Related Data.

            Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                                                                                                Unliquidated
                                                                           H




                                                                                                                                   Contingent
                                                                                        Date Claim Was Incurred and
                                                                Codebtor




                                                                                                                                                               Disputed
    Creditor's Name, Mailing Address Including                             W                                                                                              Amount of
                                                                                          Consideration For Claim.
           Zip Code and Account Number                                     J                                                                                                Claim
                    (See Instructions Above)
                                                                                   If Claim is Subject to Setoff, So State
                                                                           C


1       AT T                                                                   Dates:    2010-2010
        C/O WEST Asset Management                                              Reason:   Collecting for Creditor                                                                  $74
        2703 W Highway 75
        Sherman TX 75092
        Acct #: 25348395

2       Barclays BANK Delaware                                                 Dates:    2013-2014
        Attn: Bankruptcy Dept.                                                 Reason:   Credit Card or Credit Use                                                               $480
        125 S West St
        Wilmington DE 19801
        Acct #: NULL

3       Capital One                                                            Dates:    2011-2014
        Attn: Bankruptcy Dept.                                                 Reason:   Credit Card or Credit Use                                                               $573
        Po Box 85520
        Richmond VA 23285
        Acct #: NULL

4       Comcast                                                                Dates:    2013-2013
        C/O Southwest Credit Syste                                             Reason:   Collecting for Creditor                                                                 $404
        4120 International Pkwy
        Carrollton TX 75007
        Acct #: 42461501

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 Angel Manuel Ortiz and Maribel Carmen Ortiz / Debtors                                                  Bankruptcy Docket #:
                                                                                                         Judge:


               SCHEDULE F - CREDITORS HOLDING UNSECURED NON-PRIORITY CLAIMS




                                                                                                                                     Unliquidated
                                                                H




                                                                                                                        Contingent
                                                                             Date Claim Was Incurred and




                                                     Codebtor




                                                                                                                                                    Disputed
    Creditor's Name, Mailing Address Including                  W                                                                                              Amount of
                                                                               Consideration For Claim.
           Zip Code and Account Number                          J                                                                                                Claim
                  (See Instructions Above)
                                                                        If Claim is Subject to Setoff, So State
                                                                C


5       Comcast                                                     Dates:    2012-2012
        C/O Stellar Recovery INC                                    Reason:   Collecting for Creditor                                                               $1,101
        4500 Salisbury Rd Ste 10
        Jacksonville FL 32216
        Acct #: 6155919

6       COMENITY BANK/Vctrssec                                      Dates:    2013-2014
        Attn: Bankruptcy Dept.                                      Reason:   Credit Card or Credit Use                                                               $359
        Po Box 182789
        Columbus OH 43218
        Acct #: NULL

7       Credit ONE BANK NA                                          Dates:    2013-2014
        Attn: Bankruptcy Dept.                                      Reason:   Credit Card or Credit Use                                                               $277
        Po Box 98875
        Las Vegas NV 89193
        Acct #: NULL

8       Credit ONE BANK NA                                          Dates:    2013-2014
        Attn: Bankruptcy Dept.                                      Reason:   Credit Card or Credit Use                                                               $504
        Po Box 98875
        Las Vegas NV 89193
        Acct #: NULL

9       DEPT OF EDUCATION/NELN                                      Dates:    2009-2014
        Attn: Bankruptcy Dept.                                      Reason:   Loan or Tuition for Education                                                         $3,771
        121 S 13Th St
        Lincoln NE 68508
        Acct #: 900000103370574

10 DEPT OF EDUCATION/NELN                                           Dates:    2009-2014
   Attn: Bankruptcy Dept.                                           Reason:   Loan or Tuition for Education                                                         $7,502
   121 S 13Th St
   Lincoln NE 68508
        Acct #: 900000103370674

11 DEPT OF EDUCATION/NELN                                           Dates:    2010-2014
   Attn: Bankruptcy Dept.                                           Reason:   Loan or Tuition for Education                                                         $4,807
   121 S 13Th St
   Lincoln NE 68508
        Acct #: 900000195121574




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                                      UNITED STATES BANKRUPTCY COURT
In re
                                NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION
 Angel Manuel Ortiz and Maribel Carmen Ortiz / Debtors                                                  Bankruptcy Docket #:
                                                                                                         Judge:


              SCHEDULE F - CREDITORS HOLDING UNSECURED NON-PRIORITY CLAIMS




                                                                                                                                     Unliquidated
                                                                H




                                                                                                                        Contingent
                                                                             Date Claim Was Incurred and




                                                     Codebtor




                                                                                                                                                    Disputed
    Creditor's Name, Mailing Address Including                  W                                                                                              Amount of
                                                                               Consideration For Claim.
           Zip Code and Account Number                          J                                                                                                Claim
                  (See Instructions Above)
                                                                        If Claim is Subject to Setoff, So State
                                                                C


12 DEPT OF EDUCATION/NELN                                           Dates:    2010-2014
   Attn: Bankruptcy Dept.                                           Reason:   Loan or Tuition for Education                                                         $7,088
   121 S 13Th St
   Lincoln NE 68508
        Acct #: 900000195121674

13 GE Money BANK                                                    Dates:    2010-2010
   C/O Midland Funding                                              Reason:   Unknown Credit Extension                                                                $909
   8875 Aero Dr Ste 200
   San Diego CA 92123
        Acct #: 8535269246

14 GE Money BANK                                                    Dates:    2013-2013
   C/O Midland Funding                                              Reason:   Unknown Credit Extension                                                              $1,162
   8875 Aero Dr Ste 200
   San Diego CA 92123
        Acct #: 8560066585

         Law Firm(s) | Collection Agent(s) Representing the Original Creditor

            Clerk, First Mun Div
            Bankruptcy Dept.
            50 W. Washington St., Rm. 1001
            Chicago IL 60602

            Blitt and Gaines, PC
            Bankruptcy Dept.
            661 Glenn Ave.
            Wheeling IL 60090

15 HSBC BANK Nevada N.A.                                            Dates:    2014-2014
   C/O LVNV Funding LLC                                             Reason:   Unknown Credit Extension                                                                $648
   Po Box 10497
   Greenville SC 29603
        Acct #: 6011381020208110

16 KAY Jewelers                                                     Dates:    2007-2010
   Attn: Bankruptcy Dept.                                           Reason:   Credit Card or Credit Use                                                                    $0
   375 Ghent Rd
   Fairlawn OH 44333
        Acct #: NULL




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                                      UNITED STATES BANKRUPTCY COURT
In re
                                NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION
 Angel Manuel Ortiz and Maribel Carmen Ortiz / Debtors                                                  Bankruptcy Docket #:
                                                                                                         Judge:


              SCHEDULE F - CREDITORS HOLDING UNSECURED NON-PRIORITY CLAIMS




                                                                                                                                     Unliquidated
                                                                H




                                                                                                                        Contingent
                                                                             Date Claim Was Incurred and




                                                     Codebtor




                                                                                                                                                    Disputed
    Creditor's Name, Mailing Address Including                  W                                                                                              Amount of
                                                                               Consideration For Claim.
           Zip Code and Account Number                          J                                                                                                Claim
                  (See Instructions Above)
                                                                        If Claim is Subject to Setoff, So State
                                                                C


17 Peoples-Gas                                                      Dates:     2013-2014
   C/O Americollect INC                                             Reason:    Collecting for Creditor                                                                $682
   1851 S Alverno Rd
   Manitowoc WI 54220
        Acct #: 8500064449470

18 Target National BANK                                             Dates:     2012-2012
   C/O Midland Funding                                              Reason:    Unknown Credit Extension                                                               $582
   8875 Aero Dr Ste 200
   San Diego CA 92123
        Acct #: 8551805702

19 TNB - Target                                                     Dates:     2007-2011
   Attn: Bankruptcy Dept.                                           Reason:    Credit Card or Credit Use                                                                   $0
   Po Box 673
   Minneapolis MN 55440
        Acct #: NULL

20 University OF Phoenix                                            Dates:     2009-2012
   Attn: Bankruptcy Dept.                                           Reason:    Personal Loan                                                                        $1,175
   4615 E Elwood St Fl 3
   Phoenix AZ 85040
        Acct #: 9024589724

21 US DEPT OF ED/Glelsi                                             Dates:     2006-2014
   Attn: Bankruptcy Dept.                                           Reason:    Loan or Tuition for Education                                                       $44,392
   Po Box 7860
   Madison WI 53707
        Acct #: 6543798581

22 Webbank/DFS                                                      Dates:     2006-2010
   Attn: Bankruptcy Dept.                                           Reason:    Credit Card or Credit Use                                                            $2,546
   1 Dell Way
   Round Rock TX 78682
        Acct #: NULL

                                                                             Total Amount of Unsecured Claims                                                  $ 79,036
                                                                                    (Report also on Summary of Schedules)




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In re
                                  NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION
 Angel Manuel Ortiz and Maribel Carmen Ortiz / Debtors                                                                  Bankruptcy Docket #:
                                                                                                                         Judge:


                      SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
      Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State
nature of debtor ’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the names
and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

        Check this box if debtor has no executory contracts or unexpired leases.

                                                                                            Description of Contract or Lease and Nature of Debtor's
                     Name and Mailing Address,                                             Interest. State whether Lease is for Non-Residential Real
                         Including Zip Code,                                                          Property. State Contract Number or
                of Other Parties to Lease or Contract.                                                     Any Government Contract.

    [X] None




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                                       UNITED STATES BANKRUPTCY COURT
In re
                                 NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION
 Angel Manuel Ortiz and Maribel Carmen Ortiz / Debtors                                                                  Bankruptcy Docket #:
                                                                                                                         Judge:


                                                           SCHEDULE H - CODEBTORS
       Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by
the debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight-year period immediately preceding the commencement of the case, identify the name of the debtor ’s spouse and of any
former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the
nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the
child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the



           Check this box if debtor has no codebtors.

                    Name and Address of CoDebtor                                                          Name and Address of the Creditor


    [X] None




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      Fill in this information to identify your case:


      Debtor 1                Angel                     Manuel                    Ortiz
                              __________________________________________________________________
                              First Name                       Middle Name            Last Name


      Debtor 2                Maribel                   Carmen                    Ortiz
                              __________________________________________________________________
      (Spouse, if filing)     First Name                       Middle Name            Last Name


      United States Bankruptcy Court for the : __ NORTHERN DISTRICT OF ILLINOIS __

      Case Number ______________________________________________                                                      Check if this is:
       (If known)
                                                                                                                           An amended filing
                                                                                                                           A supplement showing post-petition
                                                                                                                           chapter 13 income as of the following date:
                                                                                                                           _______________
Official Form B 6I                                                                                                         MM / DD / YYYY


Schedule I: Your Income
                                                                                                                                                                           12/13
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:                   Describe Employment



1.        Fill in your employment                                                            Debtor 1                                      Debtor 2 or non-filing spouse
          information

          If you have more than one job,
          attach a separate page with                                                        X    Employed                            X Employed
          information about additional                    Employment status
                                                                                                  Not employed                             Not employed
          employers.

          Include part-time, seasonal, or
          self-employed work.
                                                          Occupation                     Material Handler                             Client Coordinator
          Occupation may Include student
          or homemaker, if it applies.
                                                          Employers name                 Dickson Unigage, Inc.                        Schawk USA Inc.

                                                          Employers address              930 S. Westwood Ave.                         1695 River Rd

                                                                                         Addison, IL 60101                            Des Plaines, IL 60018



                                                          How long employed there?



  Part 2:                   Give Details About Monthly Income


          Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
          spouse unless you are separated.
          If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the
          lines below. If you need more space, attach a separate sheet to this form.



                                                                                                                 For Debtor 1             For Debtor 2 or
                                                                                                                                          non-filing spouse

 2.        List monthly gross wages, salary and commissions (before all payroll
           deductions). If not paid monthly, calculate what the monthly wage would be.                               $2,336.66                    $4,675.00


 3.        Estimate and list monthly overtime pay.
                                                                                                                          $0.00                        $0.00

 4.        Calculate gross income. Add line 2 + line 3.
                                                                                                                 $2,336.66                    $4,675.00




Official Form B 6I                         Record #   628422                   Schedule I: Your Income                                                               Page 1 of 2
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Debtor 1     Angel                     Manuel                    Ortiz
             __________________________________________________________________                                                 Case Number (if known) ______________________________
             First Name                               Middle Name                               Last Name



                                                                                                                            For Debtor 1           For Debtor 2 or
                                                                                                                                                   non-filing spouse

      Copy line 4 here . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 4.   $2,336.66                   $4,675.00
5. List all payroll deductions:
      5a. Tax, Medicare, and Social Security deductions                                                               5a.        $417.30                      $795.51
      5b. Mandatory contributions for retirement plans                                                                5b.            $0.00                       $0.00
      5c. Voluntary contributions for retirement plans                                                                5c.            $0.00                    $280.50
      5d. Required repayments of retirement fund loans                                                                5d.            $0.00                      $0.00
      5e. Insurance                                                                                                   5e.            $0.00                    $518.87
      5f. Domestic support obligations                                                                                5f.            $0.00                       $0.00
      5g. Union dues                                                                                                  5g.            $0.00                       $0.00
      5h. Other deductions. Specify: ______________________________
                                          Life Insurance(D2),                                                         5h.            $0.00                       $3.36
6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                          6.        $417.30                   $1,598.24
7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                                 7.    $1,919.36                  $3,076.75
8. List all other income regularly received:
      8a.     Net income from rental property and from operating a business,

              profession, or farm

              Attach a statement for each property and business showing gross
              receipts, ordinary and necessary business expenses, and the total

              monthly net income.                                                                                     8a.           $0.00                       $0.00
      8b.     Interest and dividends                                                                                  8b.           $0.00                       $0.00
      8c.     Family support payments that you, a non-filing spouse, or a                                             8c.           $0.00                       $0.00
              dependent regularly receive
              Include alimony, spousal support, child support, maintenance, divorce

              settlement, and property settlement.
      8d.     Unemployment compensation                                                                               8d.           $0.00                       $0.00
      8e.     Social Security                                                                                         8e.           $0.00                       $0.00
      8f.     Other government assistance that you regularly receive                                                  8f.           $0.00                       $0.00
              Include cash assistance and the value (if known) of any non-cash

              assistance that you receive, such as food stamps (benefits under the
              Supplemental Nutrition Assistance Program) or housing subsidies.
              Specify: ____________________________________________
      8g.     Pension or retirement income                                                                            8g.           $0.00                       $0.00
      8h.     Other monthly income. Specify: __________________________                                               8h.           $0.00                       $0.00
9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                            9.           $0.00                       $0.00

10.   Calculate monthly income. Add line 7 + line 9.                                                                  10.                     +                          =
                                                                                                                            $1,919.36                  $3,076.75                  $4,996.11
      Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.


11.   State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
      other friends or relatives .
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
      Specify: _______________________________________________________________________________                                                                           11.            $0.00
12.   Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
      Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                       12.      $4,996.11
13.   Do you expect an increase or decrease within the year after you file this form?

           X No.
             Yes. Explain:




Official Form B 6I              Record #          628422                                    Schedule I: Your Income                                                             Page 2 of 2
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   Fill in this information to identify your case:


      Debtor 1                Angel                     Manuel                    Ortiz
                              __________________________________________________________________                             Check if this is:
                              First Name                   Middle Name                        Last Name
                                                                                                                                    An amended filing
      Debtor 2                Maribel                   Carmen                    Ortiz
                              __________________________________________________________________                                    A supplement showing post-petition chapter 13
      (Spouse, if filing)     First Name                   Middle Name                        Last Name
                                                                                                                                    income as of the following date:
      United States Bankruptcy Court for the : __ NORTHERN DISTRICT OF ILLINOIS __                                                  _______________
                                                                                                                                    MM / DD / YYYY
      Case Number ______________________________________________
      (If known)

                                                                                                                                    A separate filing for Debtor 2 because Debtor 2
Official Form B 6J                                                                                                                  maintains a separate household.

Schedule J: Your Expenses                                                                                                                                                                    12/13
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.

  Part 1:                   Describe Your Household

 1. Is this a joint case?
                 No. Go to line 2.

           X Yes. Does Debtor 2 live in a separate household?

                               X No.
                                   Yes. Debtor 2 must file a separate Schedule J.


 2.        Do you have dependents?                                 No                                             Dependent's relationship to      Dependent's      Does dependent live
                                                                                                                  Debtor 1 or Debtor 2             age              with you?
           Do not list Debtor 1 and                          X     Yes. Fill out this information for
           Debtor 2.                                               each dependent..............................                                                          No
                                                                                                                  Son                                    3
           Do not state the dependents'                                                                                                                               X Yes
           names.
                                                                                                                                                                      X No

                                                                                                                                                                         Yes

                                                                                                                                                                      X No

                                                                                                                                                                         Yes

                                                                                                                                                                      X No

                                                                                                                                                                         Yes

                                                                                                                                                                      X No

                                                                                                                                                                         Yes

 3.        Do your expenses include                                X     No
           expenses of people other than
           yourself and your dependents?                                 Yes


  Part 2:                   Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in
 the applicable date.
 Include expenses paid for with non-cash government assistance if you know the value
 of such assistance and have included it on Schedule I: Your Income (Official Form B 6I.)                                                                         Your expenses


 4.         The rental or home ownership expenses for your residence. Include first mortgage payments and
            any rent for the ground or lot.                                                                                                                  4.                       $400.00
            If not included in line 4:

            4a.       Real estate taxes                                                                                                                   4a.                             $0.00

            4b.       Property, homeowner's, or renter's insurance                                                                                        4b.                             $0.00

            4c.       Home maintenance, repair, and upkeep expenses                                                                                       4c.                             $0.00
            4d.       Homeowner's association or condominium dues                                                                                         4d.                             $0.00


Official Form 6J                              Record #     628422                     Schedule J: Your Expenses                                                                Page 1 of 3
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Debtor 1     Angel                     Manuel                    Ortiz
             __________________________________________________________________                        Case Number (if known) ______________________________
             First Name                    Middle Name                  Last Name



                                                                                                                                            Your expenses


 5.    Additional Mortgage payments for your residence, such as home equity loans                                                      5.                         $0.00

 6.    Utilities:
       6a.     Electricity, heat, natural gas                                                                                         6a.                       $260.00

       6b.     Water, sewer, garbage collection                                                                                       6b.                         $0.00

       6c.     Telephone, cell phone, internet, satellite, and cable service                                                          6c.                       $475.00

       6d.     Other. Specify:____________________________________                                                                    6d.        $                    0.00

 7.    Food and housekeeping supplies                                                                                                  7.                       $800.00

 8.    Childcare and children’s education costs                                                                                        8.                       $150.00

 9.    Clothing, laundry, and dry cleaning                                                                                             9.                       $130.00

 10.   Personal care products and services                                                                                            10.                        $50.00

 11.   Medical and dental expenses                                                                                                    11.                       $100.00

 12.   Transportation. Include gas, maintenance, bus or train fare.                                                                   12.                       $640.00
       Do not include car payments.

 13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                                             13.                        $85.00

 14.   Charitable contributions and religious donations                                                                               14.                         $0.00
 15.   Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

       15a. Life insurance                                                                                                           15a.                         $0.00

       15b. Health insurance                                                                                                         15b.                         $0.00

       15c. Vehicle insurance                                                                                                        15c.                       $149.00

       15d. Other insurance. Specify:_______________________________________                                                         15d.                         $0.00

 16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.

       Specify: ________________________________________________________                                                              16.                         $0.00

 17.   Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                                               17a.                       $499.00

       17b. Car payments for Vehicle 2                                                                                               17b.                       $365.00

       17c. Other. Specify:_______________________________________________                                                           17c.                         $0.00

       17d. Other. Specify:__________________________________________________________________                                        17d.                         $0.00

 18.   Your payments of alimony, maintenance, and support that you did not report as deducted

       from your pay on line 5, Schedule I, Your Income (Official Form B 6I).                                                         18.                         $0.00
 19.   Other payments you make to support others who do not live with you.

       Specify:_______________________________________________________                                                                19.                         $0.00

 20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                                              20a.        $                    0.00

       20b. Real estate taxes                                                                                                        20b.        $                    0.00

       20c. Property, homeowner’s, or renter’s insurance                                                                             20c.        $                    0.00

       20d. Maintenance, repair, and upkeep expenses                                                                                 20d.        $                    0.00

       20e. Homeowner’s association or condominium dues                                                                              20e.        $                    0.00




Official Form 6J                    Record #       628422              Schedule J: Your Expenses                                                        Page 2 of 3
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Debtor 1       Angel                     Manuel                    Ortiz
               __________________________________________________________________                            Case Number (if known) ______________________________
               First Name                       Middle Name                  Last Name



 21.                     Pet Care ($30.00),
       Other. Specify: ________________________________________________________                                                             21.                        $30.00
 22.. Your monthly expense: Add lines 4 through 21.                                                                                         22.                      $4,133.00
       The result is your monthly expenses.




 23.   Calculate your monthly net income.

       23a.                 Copy line 12 (your comibined monthly income) from Schedule I.                                                  23a.                      $4,996.11

       23b.                 Copy your monthly expenses from line 22 above.                                                                 23b.   -                  $4,133.00

       23c.                 Subtract your monthly expenses from your monthly income.                                                       23c.            $863.11
                            The result is your monthly net income.




 24.   Do you expect an increase or decrease in your expenses within the year after you file this form?
       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?
           X    No
                Yes.            Explain Here:




Official Form 6J                         Record #       628422            Schedule J: Your Expenses                                                           Page 3 of 3
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                                        UNITED STATES BANKRUPTCY COURT
In re
                                  NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION
 Angel Manuel Ortiz and Maribel Carmen Ortiz / Debtors                                                                       Bankruptcy Docket #:
                                                                                                                              Judge:


                                   DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                      DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the foregoing summary and schedules, and that they are true and correct
to the best of my knowledge, information and belief. I have disclosed on the foregoing schedules all property or assets I
may have an interest in, the correct value of it, and every debt I may be liable for. I accept the risk that some debts won 't be
discharged. I have been advised of the difference between Chapter 7 and Chapter 13, income & expense concepts,
budgeting, and have made full disclosure.

Debtor's attorney has advised debtor that creditors can object to discharge of their debt on a variety of grounds including
fraud, recent credit usage, divorce and support obligations and reckless conduct.

Debtor's attorney has advised debtor that non-dischargeable debts such as taxes, student loans, fines by government units
and liens on property of debtor are generally unaffected by bankruptcy .


Dated: 10/30/2014                                    /s/ Angel Manuel Ortiz
                                                                       Angel Manuel Ortiz
Dated: 10/30/2014                                    /s/ Maribel Carmen Ortiz
                                                                     Maribel Carmen Ortiz

                                         if joint case, both spouses must sign. If NOT a joint case the joint debtor will NOT appear .


           Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C.
                                                         Sections 152 and 3571



             DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. 110)

        Non-Attorney Petition Preparers were NOT used to prepare any portion of this petition. All documents were produced by
                                                                              Geraci Law L.L.C..

                                 THIS SECTION ONLY APPLIES TO PETITION PREPARERS AND HAS NOTHING TO DO WITH THIS CASE



                 DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP

                               This is a personal bankruptcy for an individual(s) and NOT a corporation or partnership.

                         THIS SECTION ONLY APPLIES TO CORPORTATIONS & PARTNERSHIPS AND HAS NOTHING TO DO WITH THIS CASE



                      Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. Sections 152 and 3571




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                                                     STATEMENT OF FINANCIAL AFFAIRS
             This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. §112 and Fed. R. Bankr. P. 1007(m).


            Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.
                                                                                 DEFINITIONS
            "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of the
following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other
than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be “in business” for the
purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s
primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer , director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates ; any managing agent of the debtor. 11
U.S.C. § 101.




            01. INCOME FROM EMPLOYMENT OR OPERATION OF BUSINESS:

            State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor''s business,
            including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date
            this case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. ( A debtor
            that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify
            the beginning and ending dates of the debtor''s fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married
            debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are
            separated and a joint petition is not filed.)

                            .                                            .
                         AMOUNT                                       SOURCE

            2014: $7,906                                             employment
            2013: $30,000
            2012: $30,000



            Spouse



                            .                                            .
                         AMOUNT                                       SOURCE

            2014: $41,605                                            employment
            2013: $50,000
            2012: $50,000




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NONE
            02. INCOME OTHER THAN FROM EMPLOYMENT OR OPERATION OF BUSINESS:
 X
            State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor''s business during
            the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
            separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed,
            unless the spouses are separated and a joint petition is not filed.)

                            .                                           .
                         AMOUNT                                      SOURCE




NONE
            Spouse
 X
                            .                                           .
                         AMOUNT                                      SOURCE




            03. PAYMENTS TO CREDITORS:

            Complete a. or b. as appropriate, and c.

            a. INDIVIDUAL OR JOINT DEBTOR(S) WITH PRIMARILY CONSUMER DEBTS: List all payments on loans, installment purchases of goods
            or services, and other debts to any creditor made within 90 days immediately proceeding the commencement of this case if the aggregate
            value of all property that constitutes or is affected by such transfer is not less than $600.00. Indicate with an asterisk (*) any payments that
            were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an
            approved nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments
            by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                     Name and Address                                 Dates of                                Amount                                  Amount
                        of Creditor                                  Payments                                  Paid                                  Still Owing

            Santander Consumer USA Po                                  Monthly                                $     897                               $ 14,354
            Box 961245 Ft Worth TX
            76161


NONE
            b. DEBTOR WHOSE DEBTS ARE NOT PRIMARILY CONSUMER DEBTS: List each payment or other transfer to any creditor made within
 X          90 days immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by
            such transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
            account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting
            and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or
            both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                     Name and Address                               Dates of                         Amount Paid or Value of                          Amount
                        of Creditor                             Payment/Transfers                          Transfers                                 Still Owing




NONE
            c. ALL DEBTORS: List all payments made within 1 year immediately preceding the commencement of this case to or for the benefit of
 X          creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments be either or both spouses
            whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

              Name & Address of Creditor &                             Dates                         Amount Paid or Value of                          Amount
                 Relationship to Debtor                            of Payments                             Transfers                                 Still Owing




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            04. SUITS AND ADMINISTRATIVE PROCEEDINGS, EXECUTIONS, GARNISHMENTS AND ATTACHMENTS:

            List all lawsuits & administrative proceedings to which the debtor is or was a party within 1 (one) year immediately preceding the filing of this
            bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether
            or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                      CAPTION OF                                    NATURE                                   COURT                                    STATUS
                       SUIT AND                                       OF                                   OF AGENCY                                    OF
                     CASE NUMBER                                  PROCEEDING                              AND LOCATION                              DISPOSITION
            Midland Funding LLC v.                                    Collection                   Cook County, First Municipal                  Judgment entered
            Maribel Fonseca
            #14M1113825



            04b. WAGES OR ACCOUNTS GARNISHED: Describe all property that has been attached, garnished or seized under any legal or equitable
            process within (1) one year preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
            information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
            petition is not filed.)

              Name and Address of Person                               Date                                  Description
               for Whose Benefit Property                               of                                   and Value
                      was Seized                                      Seizure                                of Property
            Midland Funding                                October to the petition date             $700.00 of Debtor's Wages



NONE
            05. REPOSSESSION, FORECLOSURES AND RETURNS:
 X
            List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
            returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
            chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses
            are separated and a joint petition is not filed.)

              Name and Address of Creditor              Date of Repossession, Foreclosure                  Description and
                       or Seller                             Sale, Transfer or Return                     Value of Property




NONE
            06. ASSIGNMENTS AND RECEIVERSHIPS:
 X
            a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this
            case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint
            petition is filed, unless the spouses are separated and a joint petition is not filed.)

                        Name and                                       Date                                   Terms of
                        Address of                                       of                                 Assignment or
                         Assignee                                   Assignment                               Settlement



NONE
            b. List all property which has been in the hands of a custodian, receiver, or court- appointed official within one (1) year immediately preceding
 X          the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either
            or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                        Name and                                 Name & Location                                Date                                 Description
                          Address                                 of Court Case                                  of                                  and Value of
                       of Custodian                               Title & Number                                Order                                  Property




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NONE
            07. GIFTS:
 X
            List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and
            usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less
            than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses
            whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

              Name and Address of Person                           Relationship                                Date                                 Description
                         or                                         to Debtor,                                  of                                  and Value
                     Organization                                     If Any                                   Gift                                   of Gift



NONE
            08. LOSSES:
 X
            List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
            commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or
            not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                      Description and                   Description of Circumstances and,                      Date
                           Value                       if Loss Was Covered in Whole or in                       of
                        of Property                     Part by Insurance, Give Particulars                    Loss




            09. PAYMENTS RELATED TO DEBT COUNSELING OR BANKRUPTCY:

            List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning
            debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one (1) year immediately preceding the
            commencement of this case.

                         Name and                                                                       Date of Payment,                       Amount of Money or
                          Address                                                                        Name of Payer if                        Description and
                         of Payee                                                                       Other Than Debtor                       Value of Property
            Geraci Law, LLC                                                                                                                     Payment/Value:
            55 E Monroe St Suite #3400                                                                                                          $4,000.00: $0.00
            Chicago, IL 60603                                                                                                                  paid prior to filing,
                                                                                                                                               balance to be paid
                                                                                                                                               through the plan.



            09a. PAYMENTS RELATED TO DEBT COUNSELING OR BANKRUPTCY: List all payments made or property transferred by or on behalf of
            the debtor to any persons, including attorneys, for consultation concerning debt consolidation, relief under the bankruptcy law or preparation
            of a petition in bankruptcy within 1 year immediately preceding the commencement of this case.

                         Name and                                                                       Date of Payment,                 Amount of Money or description
                          Address                                                                        Name of Payer if                            and
                         of Payee                                                                       Other Than Debtor                      Value of Property
            Hananwill Credit Counseling,                                                                        2014                                  $20.00
            115 N. Cross St., Robinson,
            IL 62454




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NONE
            10. OTHER TRANSFERS
 X
            a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor , transferred
            either absolutely or as security with two (2) years immediately preceding the commencement of this case. (Married debtors filing under
            chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are
            separated and a joint petition is not filed.)

                  Name and Address of                                     .                          Describe Property Transferred
                 Transferee, Relationship                                 .                                       and
                        to Debtor                                        Date                               Value Received



NONE
            10b. List all property transferred by the debtor within ten (10) years immediately preceding the commencement of this case to a self-settled
 X          trust or similar device of which the debtor is a beneficiary.


                          Name of                                       Date(s)                             Amount and Date
                          Trust or                                        of                                  of Sale or
                        other Device                                  Transfer(s)                              Closing



NONE
            11. CLOSED FINANCIAL ACCOUNTS:
 X
            List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
            transferred within one (1) year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
            certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives,
            associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include
            information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses
            are separated and a joint petition is not filed.)

                         Name and                       Type of Account, Last Four Digits of                   Amount and
                         Address of                      Account Number, and Amount of                        Date of Sale or
                         Institution                               Final Balance                                 Closing



NONE
            12. SAFE DEPOSIT BOXES:
 X
            List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
            immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
            depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

              Name and Address of Bank or                Names & Addresses of Those With                      Description of                         Date of Transfer or
                   Other Depository                         Access to Box or depository                         Contents                              Surrender, if Any




NONE
            13. SETOFFS:
 X
            List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of
            this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a
            joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                    Name and Address                                     Date                                    Amount
                       of Creditor                                     of Setoff                                 of Setoff




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NONE
            14. LIST ALL PROPERTY HELD FOR ANOTHER PERSON:
 X
            List all property owned by another person that the debtor holds or controls.

                    Name and Address                               Description and                           Location
                       of Owner                                   Value of Property                         of Property




NONE
            15. PRIOR ADDRESS OF DEBTOR(S):
 X
            If debtor has moved within three (3) years immediately preceding the commencement of this case, list all premises which the debtor occupied
            during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either
            spouse.

                             .                                          Name                                 Dates of
                          Address                                       Used                                Occupancy




NONE
            16. SPOUSES and FORMER SPOUSES:
 X
            If the debtor resides or resided in a community property state, commonwealth, or territory ( including Alaska, Arizona, California, Idaho,
            Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight (8) years immediately preceding the
            commencement of the case, identify the name of the debtor''s spouse and of any former spouse who resides or resided with the debtor in the
            community property state.

                           Name




NONE
            17. ENVIRONMENTAL INFORMATION:
 X
            For the purpose of this question, the following definitions apply:

            "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic
            substances, wastes or material into the air, land, soil surface water, ground water, or other medium, including, but not limited to, statutes or
            regulations regulating the cleanup of the these substances, wastes, or material.

            "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or
            operated by the debtor, including, but not limited to, disposal sites.

            "Hazardous material" means anything defined as a hazardous waste, hazardous or toxic substances, pollutant, or contaminant, etc. under
            environmental Law.




NONE
            17a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
 X          potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
            Environmental Law:

                        Site Name                                Name and Address                              Date                                Environmental
                       and Address                              of Governmental Unit                         of Notice                                  Law




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NONE
            17b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material.
 X          Indicate the governmental unit to which the notice was sent and the date of the notice.


                        Site Name                               Name and Address                                 Date                              Environmental
                       and Address                             of Governmental Unit                            of Notice                                Law




NONE
            17c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the
 X          debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket
            number.

                  Name and Address of                                 Docket                                   Status of
                   Governmental Unit                                  Number                                  Disposition




NONE
            18 NATURE, LOCATION AND NAME OF BUSINESS
 X
            a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
            ending dates of all businesses in which the debtor was an officer , director, partner, or managing executive of a corporation, partner in a
            partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six (6) years
            immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
            within six (6) years immediately preceding the commencement of this case.

            If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending
            dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six (6) years
            immediately preceding the commencement of this case.

            If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending
            dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six (6) years
            immediately preceding the commencement of this case.

              Name & Last Four Digits of                                 .                                      Nature                               Beginning
             Soc. Sec. No./Complete EIN or                               .                                        of                                    and
                Other TaxPayer I.D. No.                               Address                                  Business                             Ending Dates



NONE
            b. Identify any business listed in subdivision a., above, that is "single asset real estate" as defined in 11 USC 101.
 X
                             .                                           .
                           Name                                       Address




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NONE
            The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
 X          been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive,
            or owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a
            sole proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

             (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
            within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should
            go directly to the signature page.)
            _________________________________________________________________________

            19. BOOKS, RECORDS AND FINANCIAL STATEMENTS:

            List all bookkeepers and accountants who within two (2) years immediately preceding the filing of this bankruptcy case kept or supervised the
            keeping of books of account and records of the debtor.

                          Name                                     Dates Services
                       and Address                                   Rendered




NONE
            19b. List all firms or individuals who within two (2) years immediately preceding the filing of this bankruptcy case have audited the books of
 X          account and records, or prepared a financial statement of the debtor.


                             .                                           .                                  Dates Services
                           Name                                       Address                                 Rendered




NONE
            19c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of
 X          the debtor. If any of the books of account and records are not available, explain.


                             .                                           .
                           Name                                       Address




NONE
            19d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
 X          issued by the debtor within two (2) years immediately preceding the commencement of this case.


                         Name and                                       Date
                          Address                                      Issued




NONE
            20. INVENTORIES
 X
            List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
            dollar amount and basis of each inventory.

                           Date                                       Inventory                      Dollar Amount of Inventory
                             of                                                                     (specify cost, market of other
                         Inventory                                   Supervisor                                 basis)




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NONE
            b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.
 X
                            Date                         Name and Addresses of Custodian
                        of Inventory                           of Inventory Records




NONE
            21. CURRENT PARTNERS, OFFICERS, DIRECTORS AND SHAREHOLDERS:
 X
            a. If the debtor is a partnership, list nature and percentage of interest of each member of the partnership.

                           Name                                          Nature                                Percentage of
                        and Address                                    of Interest                                Interest




NONE
            21b. If the debtor is a corporation, list all officers & directors of the corporation; and each stockholder who directly or indirectly owns, controls,
 X          or holds 5% or more of the voting or equity securities of the corporation.


                           Name                                             .                           Nature and Percentage of
                        and Address                                       Title                             Stock Ownership




NONE
            22. FORMER PARTNERS, OFFICERS, DIRECTORS AND SHAREHOLDERS:
 X
            If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.

                             .                                             .                                     Date of
                           Name                                         Address                                 Withdrawal




NONE
            22b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one (1) year
 X          immediately preceding the commencement of this case.


                           Name                                             .                                     Date of
                        and Address                                       Title                                 Termination




NONE
            23. WITHDRAWALS FROM A PARTNERSHIP OR DISTRIBUTION BY A COPORATION:
 X
            If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any
            form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
            commencement of this case.

                 Name and Address of                                   Date and                           Amount of Money or
                Recipient, Relationship to                            Purpose of                         Description and value of
                          Debtor                                      Withdrawal                                 Property




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NONE
            24. TAX CONSOLIDATION GROUP:
 X
            If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated group for
            tax purposes of which the debtor has been a member at any time within six (6) years immediately preceding the commencement of the case.

                        Name of                                       Taxpayer
                    Parent Corporation                      Identification Number (EIN)




NONE
            25. PENSION FUNDS:
 X
            If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an
            employer, has been responsible for contributing at any time within six (6) years immediately preceding the commencement of the case.

                         Name of                                      TaxPayer
                       Pension Fund                         Identification Number (EIN)




                              DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
              I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial
                                   affairs and any attachment thereto and that they are true and correct.



Dated: 10/30/2014                                    /s/ Angel Manuel Ortiz
                                                                         Angel Manuel Ortiz

Dated: 10/30/2014                                    /s/ Maribel Carmen Ortiz
                                                                 Maribel Carmen Ortiz
             Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18
                                                   U.S.C. Sections 152 and 3571
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                                       UNITED STATES BANKRUPTCY COURT
In re
                                 NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION
 Angel Manuel Ortiz and Maribel Carmen Ortiz / Debtors                                                         Bankruptcy Docket #:
                                                                                                               Judge:


                   DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR - 2016B
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

      The compensation paid or promised by the Debtor(s), to the undersigned, is as follows:
      For legal services, Debtor(s) agrees to pay and I have agreed to accept                                                                     $4,000.00
      Prior to the filing of this Statement, Debtor(s) has paid and I have received                                                                   $0.00
      The Filing Fee has been paid.                                                                                   Balance Due                 $4,000.00
2.      The source of the compensation paid to me was:

              Debtor(s)                Other: (specify)




3.      The source of compensation to be paid to me on the unpaid balance, if any, remaining is:

               Debtor(s)                Other: (specify)
        The undersigned has received no transfer, assignment or pledge of property from the debtor(s) except the following for the
        value stated: None.
4.      The undersigned has not shared or agreed to share with any other entity, other than with members of the undersigned's law
        firm, any compensation paid or to be paid without the client's consent, except as follows:   None.
5.      The Service rendered or to be rendered include the following:
(a)     Analysis of the financial situation, and rendering advice and assistance to the client in determining whether to file a petition
        under Title 11, U.S.C.
(b)     Preparation and filing of the petition, schedules, statement of affairs and other documents required by the court.
(c) Representation of the client at the first scheduled meeting of creditors.
(d) Advice as required.




                                                                                                    CERTIFICATION
                                                               I certify that the foregoing is a complete statement of any agreement or arrangement
                                                               for payment to me for representation of the debtor(s) in this bankruptcy proceedings.

                                                           Respectfully Submitted,


Date: 11/07/2014                                           /s/ Christopher John Hoffman
                                                           Christopher John Hoffman
                                                           GERACI LAW L.L.C.
                                                           55 E. Monroe Street #3400
                                                           Chicago, IL 60603
                                                           Phone: 312-332-1800
                                                           Fax: 877-247-1960



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                                    UNITED STATES BANKRUPTCY COURT
In re
                              NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION
 Angel Manuel Ortiz and Maribel Carmen Ortiz / Debtors                                                   Bankruptcy Docket #:
                                                                                                         Judge:


                                           VERIFICATION OF CREDITOR MATRIX
The above named Debtor(s) hereby verify that the attached list of creditors is true and correct to the best of our knowledge.




                      I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.




Dated: 10/30/2014                         /s/ Angel Manuel Ortiz                                                         X Date & Sign
                                                             Angel Manuel Ortiz

Dated: 10/30/2014                              /s/ Maribel Carmen Ortiz                                                  X Date & Sign
                                                          Maribel Carmen Ortiz
           * Joint debtors must provide information for both spouses. Penalty for making a false statement or concealing property: Fine
                                   up to $500,000 or up to 5 years imprisonment or both. 18 U.S.C. 152 and 3571.
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B 201A (Form 201A) (11/11)            In re Angel Manuel Ortiz and Maribel Carmen Ortiz / Debtors

                                   UNITED STATES BANKRUPTCY COURT

                             NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b)
                                      OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1)
Describes briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and
costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and
notifies you that the Attorney General may examine all information you supply in connection with a bankruptcy case.

        You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the
advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees
cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In
order to ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you
notify the court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two
individuals married to each other), and each spouse lists the same mailing address on the bankruptcy petition, you and your
spouse will generally receive a single copy of each notice mailed from the bankruptcy court in a jointly- addressed
envelope, unless you file a statement with the court requesting that each spouse receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies

    With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file
for bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities
for credit counseling and provides assistance in performing a budget analysis . The briefing must be given within
180 days before the bankruptcy filing. The briefing may be provided individually or in a group (including briefings
conducted by telephone or on the Internet) and must be provided by a nonprofit budget and credit counseling agency
approved by the United States trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you
may consult of the approved budget and credit counseling agencies. Each debtor in a joint case must complete the
briefing.

    In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
management instructional course before he or she can receive a discharge. The clerk also has a list of approved
financial management instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

    Chapter 7: Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total fee $335
    Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing
debts. Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the
case should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of
residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors
have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court
to decide whether the case should be dismissed.
    Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the
right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your
creditors.
    The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are




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found to have committed certain UNITED   kinds of improper
                                                       STATES  conduct    described in the Bankruptcy
                                                                      BANKRUPTCY                COURT       Code, the court may deny your
discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
           Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may
still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and
property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are
not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle,
vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach
of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is not
discharged.

     Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing
fee, $75 administrative fee: Total fee $310)
     Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments
over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the
Bankruptcy Code.
     Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe
them, using your future earnings. The period allowed by the court to repay your debts may be three years or five years,
depending upon your income and other factors. The court must approve your plan before it can take effect.
     After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long
term secured obligations.

     Chapter 11: Reorganization ($1,167 filing fee, $550 administrative fee: Total fee $1,717)
     Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are
quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

     Chapter 12: Family Farmer or Fisherman ($200 filing fee, $75 administrative fee: Total fee $275)
     Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose
income arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty
of perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors, assets,
liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not filed with the court
within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The documents and the deadlines for



 Dated: 10/30/2014                            /s/ Angel Manuel Ortiz
                                                                       Angel Manuel Ortiz

 Dated: 10/30/2014                            /s/ Maribel Carmen Ortiz
                                                                     Maribel Carmen Ortiz

Dated: 11/07/2014                             /s/ Christopher John Hoffman
                                              Attorney: Christopher John Hoffman

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